 ARW:rmh                  CASE 0:14-mj-01047-JSM Document 1 Filed 12/02/14 Page 1 of 6
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                                             UNrrsp Srarps Dtsrrucr CouRr
                                                                      for the
                                                               District of Minnesota

  UNITED STATES OF AMERICA

                                                                                caseNo.         lLl-   l1J- lo'11          6sft)
  YUSRA ISMAIL


                                                       CRIMINAL COMPLAINT
             l, the undersigned complainan! being duly swom, state the following is true and correlt to the best ofmy

knowledge and         belief.    On or about August 21.2014. in Hennepin County, in the Slate and District of Minnesota

defendant did       willfully   and knowingly use, or attempt to use, a passport issued or designed for use by another,




in violation of Title 18, United States Code, Section(s) 1544.

I further state that I am a(n) Task Force Officer and that this complaint is based on the following facts:

                       SEE ATTACHED                AFFIDAVIT
Continued on the attached sheet and made a oart           hereof: XYes          !    No



                                                                                       's\
                                                                                           N^
                                                                                                A   rr>
                                                                                                    C omp I ai nan I's s ignature


                                                                                    _-_ Michael Honevcutt T.F.O.,           FBI
                                                                                                       P   nted nane aad   title
  Swom to before me and signed in my presence.

                          rl
  Dil", li-l6Lll+
  City and state: wtiqr!94p9!i!              ltN                                             The Honorable Janie S. Mayeron
                                                                                                  U.S. Masistrate Judse
                                                                                                       Pritued name and tille
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                           LINITED STATES DISTzuCT COURT
                               DISTRICT OF MINNESOTA                      \
                           District Court File No. 14-Ir[J- lc'rl:t (J5!-< |

LINITED STATES OF         AMERICA,             )
                                               l
                     Plaintiffl                )   AFFIDAVIT OF MICHAEL             S.
                                               )   HONEYCUTT
       vs.                                     I
                                               )
YUSRA       rSMArL,                            )
                                               )
                     Defendant.                )



       I,   Michael S. Honeycutt, being first duly swom, hereby depose and state                as

follows:

STATE OF      MINNESOTA              ]
                                     J   ss.
COI.INTY OF     HENNEPIN             )


                   INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Task Force Officer with the Federal       Bureau of Investigation, and

have been since August 5,2013.      I am a licensed   Peace Officer in the state of Minnesota

and have been a Minneapolis Police Officer for over five years. In that time             I   have

investigated numerous cases involving felony assaults and other           crimes.   I    have   a

bachelor's degree    in   criminal justice and have completed the Minneapolis police

Department Recruit Training Academy and the FBI Joint Terrorigm Task Force Officer

Operations Course where       I   received numerous hours     of train[ng in legal process.
investigations, and evidence collection.
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       2,         As part of my duties as a Task Force Officer,   I   investigate, among other

things, criminal violations relating to terrorism, such as material support to designated

foreign terrorist organizations. The statements contained in this affidavit are based on

information I have leamed through my own investigation; my backgroundo training, and

experience as a Task Force Officer assigned to the JTTF; the investigation of other FBI

special agents and law enforcement officers; records and other evidence obtained during

the course of this investigation; and discussions with individuals as set forth in this

affidavit.

       3.     This affidavit has the limited purpose of demonstrating that there            is

probable cause to believe that the defendant. YUSRA ISMAIL, has committed a federal

crime. It does not set forth all of my knowledge about this matter,

                             PURPOSE OF THE AFFIDAVIT

       4.     I   make this affidavit in support of an application for a criminal complaint

charging the defendant, YUSRA ISMAIL, Misuse of Passport, in violation of Title 18,

United States Code, Section 1544. This affidavit is also made in support of                an

application for a warrant to arrest defendant YUSRA ISMAIL.

                     FACTS CONSTITUTING PROBABLE CAUSE

       5.     FBI Minneapolis is investigating numerous individuals who have traveled

or are attempting to travel from the Twin Cities to Syria in order to involve themselves in

the fighting that has consumed Syria for more than three years. Through the course         of
this investigation, the FBI leamed that the defendant YUSRA ISMAIL has departed the

United States using a stolen passport and likely traveled to Syria.
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           6.      Your affiant has learned that on August 25,2014, an adult female ("Victim

    1"), who is a citizen of the United States, filed a report with the Minneapolis Police

    alleging that her passport had been stolen by the defendant YUSRA ISMAIL

    ("ISMAIL"). In a subsequent interview, Victim         1 described how on August 18,2014,

    ISMAIL had calted her unexpectedly and asked to meet, Shortly after aniving at Victim

    1's apartment, ISMAIL asked to see Victim I's passport. ISMAIL explained to Victim I

    that she was planning to travel to Africa for a wedding. Victim          I   showed ISMAIL her

    passport and by doing so revealed to       ISMAIL where Victim     1   kept her passport, Later

    on the 18th. ISMAIL asked to use the restroom in Victim      I's   apartment, which was in the

    vicinity of the room where Victim      I   was storing her passpon. Shortly after returning

    from her purported use of the restroom, ISMAIL told Victim I that she needed to leave.

          7.       The next day, Victim    I   received a text message from ISMAIL in which

    ISMAIL apologized if she had ever had harmed Victim           1.       Several days later, upon

    hearing from ISMAIL's friends that ISMAIL had traveled overseas using another

    person's passport, Victim   I   checked the location in her apartmenr where she had been

.   storing her passport and discovered that her passport was now missing. She then called

    the Minneapolis Police.

          8.       Your affiant has reviewed documents provided by Delta Airlines which

    shows that   Victim I's passport was indeed used by an individual believed to be ISMAIL

    on August 21, 2014, to travel on a Delta flight from the Minneapolis/St.                  Paul

    Intemational Airport to Amsterdam, the Netherlands. The same passenger then traveled
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from Amsterdam to Oslo, Norway, arriving on August 22, 2014. No further travel

records beyond Norway are currently available.

       9.     Witness   I   has provided information about defendant     ISMAIL's departure

from the Twin Cities. Witness          I   stated that on or about August 21, 2014, Witness   1




received a phone call from ISMAIL asking for a ride to the Minneapolis/St. Paul

International Airport. Witness 1 picked up ISMAIL and took her directly to the airport

that same day. Witness      I   observed ISMAIL with a passport in her possession but did not

see the name on the passport,

       10.    Witness 2 has provided information to investigator$ about a message she

received ffom ISMAIL shortly after ISMAIL's disappearance from the Twin Cities in

August of 2014. In this message, ISMAIL admitted that she had used another femalens

passport to travel overseas without the passport holder's knowledge.

       11.    Your affiant has learned that on August 24,2014, ISMAIL contacted

members of her family via a messaging application, telling one or more of them that she

was now in "Sham", a term commonly used to describe the area within Syria and Iraq

where the Islamic State of Iraq and Syria ("ISIS") is attempting to establish a caliphate.

       12.    Your affiant knows that ISMAIL has not applied for a passport under her

real name. Indeed, because ISMAIL is not a United States citizen, she cannot obtain a

U.S. passport. Your affiant further knows that the ticket booked under Victim       I's   name

had a retum date   of   September 1, 2014, and there is no record that any traveler has

retumed to the United States using this ticket, Further, there is no evidence that ISMAIL

has since lawfully retumed to the United States.
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                                          CONCLUSION

       1   3.    Based on the foregoing,    I   respectfully submit to this Court that there is

evidence amounting at least to probable cause to believe that ISMAIL committed the

federal crime specified above in this affidavit, and that the nature of this crime combined

with other facts and circumstances further supports the issuance ofa warrant by this court

for the arrest of YUSRA ISMAIL.



                                                      Respectfu   lly submitted,


                                                        vQ         a\\=--
                                                      MICHAEL S. HONEYCUTT
                                                      Task Force Officer
                                                      Federal Bureau of Investisation


Subscribed and sworn to before me


on   ni@        auyof December, 20 1 4.




       S. MAYERON
